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 1 LAW OFFICES OF CHRIS COSCA
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 4 Attorney for Defendant
   RYAN CHEAL
 5

 6

 7                            IN THE UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         2:12-CR-0185-TLN
11                               Plaintiff,            STIPULATION AND ORDER TO
                                                       REMOVE DEFENDANT FROM
12   v.                                                PRETRIAL SERVICES SUPERVISION
13   RYAN CHEAL,
14                               Defendant.
15

16                                            STIPULATION
17          At the request of Pretrial Services, the parties hereby stipulate to remove Defendant RYAN
18
     CHEAL from pretrial services supervision.
19
20
     IT IS SO STIPULATED.
21

22 DATED:          October 15, 2018                     /s/ Jason Hitt
                                                        JASON HITT
23                                                      Assistant United States Attorney
24

25
     DATED:        October 15, 2018                     /s/ Chris Cosca
26                                                      CHRIS COSCA
                                                        Counsel for Defendant
27                                                      RYAN CHEAL
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29 USA v. Cheal- Stip and Order to Remove Pretrial Supervision

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             Case 2:12-cr-00185-TLN Document 317 Filed 10/16/18 Page 2 of 2



 1
                                             ORDER
 2

 3 IT IS SO ORDERED

 4
     Dated: October 15, 2018
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29 USA v. Cheal- Stip and Order to Remove Pretrial Supervision

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